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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

LAWYERS’ COMMITTEE FOR 9/11 INQUIRY,
INC.; AND RICHARD GAGE;

Plaintiffs,

Vv. Case No.

 

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)
:
WILLIAM P. BARR, ATTORNEY GENERAL OF )
THE UNITED STATES; UNITED STATES )
DEPARTMENT OF JUSTICE; AND GEOFFREY )
BERMAN, UNITED STATES ATTORNEY FOR THE )
SOUTHERN DISTRICT OF NEW YORK. )

)

)

Defendants.

COMPLAINT FOR MANDAMUS RELIEF AND DISCLOSURE OF GRAND JURY
RECORDS

 

L. This is an action to compel officers of the United States to perform their duty,
brought pursuant to the federal mandamus statute, 28 U.S.C. § 1361, and the Administrative
Procedures Act (APA), 5 U.S.C. §§ 702, 706.

2: The officers of the United States sought to be compelled to perform their duty are
the Honorable William P. Barr, Attorney General of the United States, and the Honorable
Geoffrey Berman, United States Attorney for the Southern District of New York. The federal
agency sought to be compelled to comply with 18 U.S.C. § 3332(a) is the United States
Department of Justice.

3. The mandatory duty sought to be compelled is the duty of the United States
Attorney for the Southern District of New York to inform a special grand jury of the Plaintiffs’

report of alleged federal crimes, which report was submitted to the United States Attorney in the

form of Plaintiffs’ Petition and Amended Petition. This duty is specified in 18 U.S.C. § 3332(a)

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which states, inter alia, that:

(a) It shall be the duty of each such [special] grand jury impaneled within any
judicial district to inquire into offenses against the criminal laws of the United
States alleged to have been committed within that district. Such alleged offenses
may be brought to the attention of the grand jury by the court or by any attorney
appearing on behalf of the United States for the presentation of evidence. Any
such attorney receiving information concerning such an alleged offense from
any other person shall, if requested by such other person, inform the grand
jury of such alleged offense, the identity of such other person, and such

attorney’s action or recommendation.
18 U.S.C. § 3332(a) (emphasis added).
4. The Department of Justice has recognized the existence of this duty:

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It is incumbent upon any such government attorney to whom it is reported that a
Federal offense was committed within the district, if the source of information so
requests, to refer the information to the special grand jury, naming the source and
apprising the jury of the attorney's action or recommendation regarding the
information.

U.S. Attorneys' Manual, Criminal Resource Manual, § 158.
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5. This Court has also recognized the mandatory nature of this duty:
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| 18 U.S.C. § 3332(a) creates a duty on the part of the United States
Attorney that runs to the plaintiffs, and the breach of that duty gives the plaintiffs
standing to seek its enforcement. ...

To argue, as the government does ... that the prosecutor has total
discretion in deciding what information to present to the grand jury flies in the
face of the Act’s legislative history. ...

Thus both the language of 18 U.S.C. § 3332(a) and its legislative history
indicate that Congress intended to remove the prosecutor’s discretion in deciding
whether to present information to the grand jury. He retains discretion with
respect to how he acts and what he recommends concerning that information.

Inre Grand Jury Application, 617 F.Supp. 199, 201, 205-06 (S.D.N.Y. 1985).

 

 
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JURISD CTION

6. This court has federal question jurisdiction over this action pursuant to 28 U.S.C.
§ 1331 (“The district courts shall have original jurisdiction of all civil actions arising under the
Constitution, laws, or treaties of the United States.”).

7. This court also has jurisdiction over this action pursuant to the federal mandamus
statute, 28 U.S.C. § 1361 (“The district courts shall have original jurisdiction of any action in the
nature of mandamus to compel an officer or employee of the United States or any agency thereof

to perform a duty owed to the plaintiff.”).

VENUE
8. Venue is proper in this District pursuant to 28 U.S.C. § 1391(e).
Actions where defendant is officer or employee of the United States--
(1) In general.--A civil action in which a defendant is an officer or employee of

the United States or any agency thereof acting in his official capacity or under
color of legal authority, or an agency of the United States, or the United States,

may, except as otherwise provided by law, be brought in any judicial district in
which (A) a defendant in the action resides, (B) a substantial part of the events or
omissions giving rise to the claim occurred
28 U.S.C § 1391 (e).
9. The United States Attorney for the Southern District of New York “resides” in the
Southern District for purposes of venue.
10. The events and omissions and actions and inaction constituting both the federal
crimes alleged in Plaintiffs’ Petition and Amended Petition at issue in this action and relating to

the United States’ Attorney’s failure to comply with his mandatory duty to relay Plaintiffs’ report

of these alleged federal crimes to a federal special grand jury occurred in the Southern District.

 

 
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PARTIES
11. ~—— Plaintiff Lawyers’ Committee for 9/11 Inquiry, Inc. (hereafter “Lawyers’
Committee”) is a Pennsylvania non-profit corporation. The mission of the Lawyers’ Committee

is to promote transparency and accountability regarding the tragic events of September 11, 2001

 

(9/11). The Lawyers’ Committee believes that the family members of the victims of the tragic
crimes of 9/11 have a compelling right to know the full truth of what happened to their loved
ones on 9/11, and that Congress and the Department of Justice, in order to do their jobs, have a
compelling need to know.

12. The Lawyers’ Committee has a special interest in the United States Attorney
reporting the evidence submitted in their Amended Petition to a special federal grand jury.
Examination of this evidence by a special grand jury would promote both of the primary goals in
the Lawyers’ Committee’s non-profit mission: transparency and accountability regarding the
tragic events of 9/11. A special grand jury has the power not only to investigate and indict, which
if exercised would promote the goal of accountability, but also to issue public reports regarding
any government malfeasance discovered during the investigation, which would promote the goal
of transparency.

13. On April 10, 2018, the Lawyers’ Committee delivered to the Office of the United
States Attorney for the Southern District of New York their fifty-four page “Petition To Report
Federal Crimes Concerning 9/11 To Special Grand Jury or in the Alternative to Grand Jury
Pursuant to the United States Constitution and 18 U.S.C. § 3332(a)” (hereafter “Petition”) along
with the extensive scientific and eye-witness testimony exhibits referenced in the Petition, as

well as a cover letter. In the Petition and cover letter the Lawyers’ Committee requested that the

United States Attorney present the information in the Petition concerning alleged federal crimes

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toa federal special grand jury pursuant to the United States Attorney’s duty to do-so under 18
U.S.C, § 3332(a).

14, As noted in the Petition, the City of New York has issued over 2,700 death
certificates related to the attacks on the World Trade Center on 9/11. In addition to the murder of
over 2,000 innocent civilians, hundreds of First Responders were also murdered on 9/11 while
selflessly attempting to save others. Many more First Responders have died subsequent to 9/11
as a result of their exposure to toxic and corrosive air contaminants at Ground Zero while
participating in heroic rescue and recovery work. A number of FBI agents have also been
reported to have died as a result of such exposures. Plaintiffs? Amended Petition presented to the
United States Attorney extensive evidence heretofore ignored by federal authorities that the
World Trade Center (WTC) Twin Towers (WTC1 and WTC2) and the Salomon Brothers
Building a.k.a. WIC Building 7 (WTC7) collapsed on 9/11 due to the detonation of pre-planted
explosives and/or incendiaries.

15. On July 30, 2018, the Lawyers’ Committee delivered to the Office of the United
States Attorney for the Southern District of New York their fifty-eight page “First Amended
Petition To Report Federal Crimes Concerning 9/11 To Special Grand Jury or in the Alternative
to Grand Jury Pursuant to the United States Constitution and 18 U.S.C. § 3332(A)” (hereafter
“Amended Petition”) and incorporated by reference in that Amended Petition the extensive
scientific and eye-witness testimony exhibits referenced in the original Petition that had already
been submitted to the United States Attorney’s Office on April 10, 2018. A cover letter was also
submitted with the Amended Petition. In the Amended Petition and cover letter, the Lawyers’
Committee requested that the United States Attorney present the information in the Amended

Petition concerning alleged federal crimes to a federal special grand jury pursuant to the United

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States Attorney’s duty to do so under 18 U.S.C. § 3332(a). The primary change in the Amended
Petition is compared to the original Petition is that three additional federal crimes were added to
the crimes being alleged in the Amended Petition.!

16. Plaintiff Richard Gage is an experienced architect who has played a leading role
in the independent multi-year investigation of the causes of the collapse of the WTC towers and
WTC Building 7 on 9/11. Mr. Gage is the founder and President of the non-profit organization
Architects & Engineers for 9/11 Truth. The Lawyers’ Committee Petition submitted to the
United States Attorney which is at issue here included substantial testimony from Mr. Gage and
his scientists, engineer, and architect colleagues.

17. Mr. Gage signed on to the Lawyers’ Committee’s Petition via the Lawyers’

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Committee web page after the initial submission of the Petition to the United States Attorney and
thereby joined in the aforementioned Lawyers’ Committee’s request to the United States
Attorney. His name, as an additional supporter of the Lawyers’ Committee’s Petition, was

submitted by the Lawyers’ Committee, along with the names of approximately two thousand

others, to the United States Attorney’s Office in a supplement to the original Petition.

FACTS

18. All of the foregoing paragraphs are incorporated herein by reference.

19. On April 10, 2018, the Lawyers’ Committee, after several months of research,
investigation, and analysis, including the receipt of extensive testimony from scientists,

architects, and engineers, submitted to the Office of the United States Attorney for the Southern

 

* The crimes reported in the Amended Petition involve providing material support to terrorists, the killing of federal
agents, terrorist acts transcending national boundaries, and bombings of places of public use and government
facilities. See 18 U.S.C. § 2332f; 18 U.S.C. § 1114; 18 U.S.C.A. § 2332b; and 18 U.S.C. § 2339A. It should be
noted that there is no statute of limitations roadblock to prosecution of any of these specific crimes.

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District pf New York their Petition, with accompanying exhibits and a cover letter. The Petition
was submitted in order to report, and to provide factual information and evidence, to the United
States Attorney regarding certain federal crimes that have been committed within the Southern
District of New York on September 11, 2001, and in the months leading up to 9/11, related to the
attacks on the World Trade Center.

20. In the Petition and in the accompanying cover letter, the Lawyers’ Committee
respectfully requested that the United States Attorney submit the information in the Petition and
its exhibits to a special grand jury that is empaneled or will next be empaneled.

21. The Lawyers’ Committee in the Petition and accompanying cover letter reminded
the United States Attorney of his duty pursuant to statute, 18 U.S.C. § 3332(a), to present to a
special grand jury citizen reports of information regarding federal crimes such as that presented
in the Lawyers’ Committee’s Petition.

22, The Lawyers’ Committee also requested, in its Petition and the accompanying
cover letter, that the United States Attorney, pursuant to 18 U.S.C. § 3332, inform any currently

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empaneled special grand jury, and any subsequently empaneled special grand jury, that the
Lawyers’ Committee is the source that reported this information regarding these crimes to the
United States Attorney and provide such grand juries the contact information for the Lawyers’
Committee.

23. In the July 30, 2018 Amended Petition delivered to the Office of the United States
Attorney, as in the original Petition, the Lawyers’ Committee presented extensive scientific and
eye-witness evidence that explosives were used to destroy three WTC buildings on 9/11. That

evidence included the following:

a) A report in a peer-reviewed scientific journal of independent scientific laboratory

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analysis of WTC dust samples showing the presence of high-tech explosives and/or incendiaries
in the form of nanothermite or nanothermate.

b) Testimony of numerous New York firefighters who were 9/11 First Responders that
they heard sounds of explosions and saw explosions on 9/11 at the WTC resembling controlled
demolitions.? Some reported seeing molten iron like in a foundry, which would not be possible
asa result of fires fueled by building contents and jet fuel alone.

°) Testimony and scientific analysis by numerous architects, engineers, physicists, and
chemists which demonstrates conclusively that the WTC Twin Towers and WTC Building 7
were brought down by use of explosives and incendiaries, not by airplane impacts or the
resulting jet fuel and building fires. This expert analysis and opinion includes technical analysis
of video evidence of the WTC building collapses demonstrating that WIC1 and WTC2 fell at
near free fall acceleration, while WTC7 exhibited actual free-fall acceleration for approximately
one third of the total collapse time (which would not be physically possible absent use of

explosives and/or incendiaries).

d) Expert analysis of seismic evidence resulting in an expert opinion that explosions

 

occurred at the WTC towers on 9/11 prior to the airplane impacts, and prior to the building
collapses, which expert analysis was supported by the testimony of WTC janitor William

Rodriguez and other eyewitnesses who reported that they heard, saw, and felt evidence of

 

? The First Responders reported on 9/11: “Bombs,” “explosions” at the lowest level and the highest level of the
buildings before the collapses, flames being blown out, a “synchronized deliberate” kind of collapse, like a
“professional demolition,” “pop, pop, pop, pop, pop" sounds before the collapses, “low-level flashes,” “three floors
explode,” “the antenna coming down,” like “those implosions on TV,” “popping sounds” and “explosions” “going
both up and down and then all around the building,” “with each popping” “orange and then a red flash came out
of the building” and “go all around the building,” “looked like it was a timed explosion,” “at the very top
simultaneously from all four sides, materials shot out horizontally” before the collapse began, “boom, boom,
boom, boom, and then the tower came down,” and “going all the way around like a belt, all these explosions.

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explosions in the basement and lobby of WTC1 and WTC2 prior to the WTC plane i impacts.

.) Scientific reports and testimony documenting the presence of molten iron at Ground
Zero, which proves that temperatures there were much higher than those that jet fuel fires and
building contents fires could create. The extreme temperatures documented are consistent with
use of the high tech explosive and/or incendiary materials such as nanothermite or nanothermate.

p Scientific reports and testimony documenting the presence in the WTC dust of
previously molten iron microspheres in large quantities, as confirmed by electron microscope
analysis : of WTC dust samples by both government and independent scientists. It is impossible
for jet fuel fires and office contents fires to create such microspheres but such microspheres
would be expected from the use of nanothermite or nanothermate.

g) Video evidence that shows the ejection during the collapse of WTC 1 and 2
of heavy steel structural elements laterally some distance from these WTC buildings which
would not be possible from a gravity-driven collapse.

h) Scientific analysis, testimony, and government reports confirming sulfidation and high
temperature corrosion of the steel found in the rubble after the collapse of the WTC towers and
WTC 7, a phenomenon not expected in a jet fuel fire and gravity driven collapse, but consistent
with the use of nanothermate.

24, In the Petition and Amended Petition, the Lawyers’ Committee concludes that the
scientific, video, and eye-witness evidence taken together is conclusive that explosive and/or
incendiary devices that had been pre-placed at the WTC were detonated causing the complete
collapse of the World Trade Center Twin Towers on 9/1 1, substantially increasing the tragic loss
of life from the 9/11 terrorist attacks. The Lawyers’ Committee states unequivocally that the

evidence permits no other conclusion -- as a matter of science, as a matter of logic, and as a

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matter of law.

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25, Notwithstanding the Lawyers’ Committee’s conclusions in this regard,
conclusions supported by numerous scientists, architects, and engineers, the Lawyers’
Committee in the Petition and Amended Petition do not ask that the United States Attorney or a
special grand jury adopt these or any other conclusions. The Lawyers’ Committee simply asked
the United States Attorney to honor its non-discretionary duty pursuant to 18 U.S.C. § 3332(a) to
submit this evidence to a special grand jury and allow the special grand jurors to draw whatever
conclusions of their own they find justified after investigating the matter using the substantial
investigative powers and tools the law provides to a special grand jury.

26. In the Petition and Amended Petition, the Lawyers’ Committee points out that
given the nature of these crimes, they were not committed by a single person acting alone but
rather by several persons acting in concert. The Amended Petition urges that the attention of the
jurors should not be limited simply to the four primary federal crimes alleged, but should include
a full inguiry into the crimes of aiding and abetting and conspiracy, and into those who may be
guilty of these additional crimes, whether or not such parties are principals (direct perpetrators).

27. The Lawyers’ Committee, in addition to delivering their Petition and exhibits, and
the Amended Petition, to the Office of the United States Attorney, also had delivered to the
Office of the Attorney General of the United States (and to the President of the United States) a
copy of the Amended Petition.

28. The Office of the United States Attorney did confirm receipt of the Lawyers’
Committee’s original Petition. Plaintiffs’ representatives did obtain a copy of the Amended

Petition stamped with the United States Attorney’s Office security stamp when they hand

delivered the Amended Petition to the United States Attorney’s Office on July 30, 2018.

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Subsequently, on November 7, 2018, the U.S. Attorney’s Office sent the Lawyers’ Committee a
letter stating that the U.S. Attorney would comply with 18 U.S.C. § 3332(a). This letter was
signed by Assistant U.S. Attorney (AUSA) Michael Ferrara, Chief of the Terrorism and
Intemational Narcotics Unit at the Office of the U.S. Attorney for the Southern District of New
York. No details regarding what actions the U.S. Attorney would take were provided.

29. The Plaintiffs have not received any further written communications from the
Office of the United States Attorney or the Department of Justice. The Executive Director for the
Lawyers? Committee David Meiswinkle, along with the Lawyers’ Committee Litigation Director
Mick Harrison, did communicate with AUSA Ferrara by telephone in June of 2019 and asked
AUSA Ferrara if he could provide the status of the U.S. Attorney’s action on the Lawyers’
Committee’s Petition and Amended Petition. AUSA Ferrara stated that, because of the secrecy
requirements of Fed. R. Crim. P. 6(e), he could not provide any information beyond the letter
previously provided by the AUSA stating that the U.S. Attorney would comply with 18 U.S.C. §
3332(a). The Plaintiffs thus have no concrete evidence that the Defendants have actually
provided their Petition, Amended Petition, the exhibits to these petitions, or the Plaintiffs’ names
and contact information to a federal special grand jury as required by 18 U.S.C. § 3332(a).

30. Plaintiff Lawyers’ Committee has also submitted the evidence referenced in their
original Petition and Amended Petition to the State Department’s “Rewards for Justice” (RFJ)
program via Email sent to info@rewardsforjustice net. On August 30, 2019, the Lawyers’
Committee filed its application for such a reward with the U.S. State Department under the RFJ

Program.

31. The Lawyers’ Committee has asked to be considered for a reward under the RFJ

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program.* The United States, via this RFJ program, offers rewards or bounties for information
leading to the arrest of persons engaged in terrorism (https://rewardsforjustice.net).

32. The RFJis the U.S. Department of State's Counter-Terrorism Rewards Program,

 

and was established by the 1984 Act to Combat International Terrorism, Public Law 98-533
(codified at 22 U.S.C. § 2708). Administered by the State Department's Bureau of Diplomatic
Security, RFJ's goal is to bring international terrorists to justice and prevent acts of international
terrorism against U.S. persons or property. Under this program, the Secretary of State may
authorize rewards for information that leads to the arrest or conviction of anyone who plans,
commits, or attempts international terrorist acts against U.S. persons or property.‘

33. Most RFJ reward offers are for up to $5 million. However, reward offers can
range from under $1 million to up to $25 million. In addition, RFJ can also pay rewards in cases
where there is no prior reward offer, in appropriate circumstances. Since its inception, RFJ has

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paid more than $125 million to over 80 individuals for information that prevented international

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terrorist attacks or helped bring to justice those involved in prior acts. Reward payment amounts
are based on a number of factors, including, but not limited to, the threat posed by a given
terrorist, the severity of the danger or injury to U.S. persons or property, and the value of the

information provided.

34. Anyone who provides actionable information that will help favorably resolve acts

 

* The United States Court of Appeals for the District of Columbia Circuit has recognized that an applicant for a
bounty may have special standing to compel performance by the United States Attorney of the duty in 18 U.S.C. §
3332(a). “We emphasize that Mohwish lacks standing because he has failed to identify any cognizable injury, not
because § 3332 is inherently unenforceable at the instance of a private litigant; for example, a person who would be
entitled to a bounty if a prosecution were initiated might well have standing. Cf Lujan, 504 U.S. at 573, 112 S.Ct. at
2143.” Sargeant v. Dixon, 130 F.3d 1067, 1070 (D.C. Cir. 1997).
4 As Plaintiffs’ Petition notes, the detonations of the pre-planted explosive and/or incendiary devices on 9/11 at
the WTC were timed and coordinated with the aircraft attacks on WTC1 and WTC2, and substantially contributed
to the destruction of those three WTC buildings and their contents, and substantially increased the tragic loss of
life that occurred on 9/11.

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of international terrorism against the U.S. anywhere in the world may potentially be eligible for a
reward. If, for example, a terrorist involved in either the planning or execution of an attack
against U.S. persons and/or property is arrested or convicted as a result of information provided

by a source, that source may be eligible for a reward.

COUNTI: MANDAMUS RELIEF PURSUANT TO 28 U.S.C. § 1361

35. All of the foregoing paragraphs are incorporated herein by reference.

 

36. In order to grant a request for mandamus a court must find that three requirements
are satisfied: (1) aclear right in the plaintiff to the relief sought; (2) a plainly defined and
peremptory duty on the part of the defendant to do the act in question; and (3) no other adequate
remedy available. Lovallo v. Froehlke, 468 F.2d 340, 343 (2d Cir. 1972), cert. denied, 411 U.S.
918 (1973); Inre Grand Jury Application, 617 F.Supp. 199 (S.D.N.Y. 1985).

37. As this Court has held in regard to the first requirement, 18 U.S.C. § 3332(a)
establishes a clear right in the Plaintiffs here, who provided to the United States Attorney, via
their Amended Petition, substantial evidence and information relating to alleged (and apparent)
federal crimes, to have the United States Attorney provide their information regarding such
crimes to a special grand jury. In re Grand Jury Application, 617 F.Supp. 199, 201, 206
(S.D.N.Y. 1985).

18 U.S.C. § 3332(a) creates a duty on the part of the United States

Attorney that runs to the plaintiffs, and the breach of that duty gives the plaintiffs

standing to seek its enforcement. ... 18 U.S.C. § 3332(a) creates a right in every

person to have information known by them concerning organized crime to be

presented to the grand jury.

Id.

38. This Court has also held that the second requirement for mandamus relief, a

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plainly defined and peremptory duty on the part of the defendant, is established by 18 U.S.C. §
3332(a). This Court has held that:

18 U.S.C. § 3332(a) creates a duty on the part of the United States
Attorney that runs to the plaintiffs ...

Thus both the language of 18 U.S.C. § 3332(a) and its legislative history
indicate that Congress intended to remove the prosecutor’s discretion in deciding
whether to present information to the grand jury.

 

Inre Grand Jury Application, 617 F Supp. 199, 201, 206 (S.D.N.Y. 1985).

39, In regard to the third and last requirement for mandamus relief, that Plaintiffs
have no other adequate remedy available, that requirement is also satisfied here as there is no
other legal vehicle for compelling the United States Attorney to provide Plaintiffs’ Amended
Petition information to a special grand jury, with the possible exception of a mandamus relief
request under the APA, which Plaintiffs include infra as an additional claim.

40. As stated supra, the United States Attorney has refused to provide to the Lawyers’
Committee any details regarding the status of the United States Attorney’s action on Plaintiffs’
Petition and Amended Petition, including whether or not the United States Attorney has actually
provided b special grand jury with these documents and their exhibits, or not. As a result, the
United States Attorney may have, and Plaintiffs have concluded, on information and belief, that
the United States Attorney here has, unlawfully withheld, in violation of his clear duty pursuant
to 18 U.S.C. § 3332(a), the action requested by Plaintiffs, pursuant to their statutory (and
constitutional) right, that the United States Attorney provide to a special grand jury the
information in Plaintiffs’ Amended Petition and Exhibits regarding alleged federal crimes that

have been committed in the Southern District of New York. Should the disclosure of grand jury

records as sought in this Complaint, or a disclosure of information pursuant to order of the court,

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demonstrate to the contrary, then the Plaintiffs’ mandamus claim stated in this count will be

moot (i.e, this count is brought as a contingent claim or claim for alternative relief which will

 

only be pursued by Plaintiffs if there is no disclosure showing that the United States Attorney has
in fact provided Plaintiffs’ Amended Petition and exhibits to a special grand jury).

41. Consequently, Plaintiffs are entitled to a writ of mandamus and order from this
Court mandating that the United States Attorney provide Plaintiffs’ Amended Petition to a

special grand jury and inform the special grand jury of the Plaintiffs’ identity.

COUNT II: MANDAMUS RELIEF PURSUANT TO THE ADMINISTRATIVE
PROCEDURES ACT

42. All of the foregoing paragraphs are incorporated herein by reference.
43. | The APA provides for suits against federal agencies and officials, including
claims for mandamus type relief.

A person suffering legal wrong because of agency action, or adversely affected or
aggrieved by agency action within the meaning of a relevant statute, is entitled to
judicial review thereof. An action in a court of the United States seeking relief
other than money damages and stating a claim that an agency or an officer or
employee thereof acted or failed to act in an official capacity or under color of
legal authority shall not be dismissed nor relief therein be denied on the ground
that it is against the United States or that the United States is an indispensable
party. The United States may be named as a defendant in any such action, and a
judgment or decree may be entered against the United States: Provided, That any
mandatory or injunctive decree shall specify the Federal officer or officers
(by name or by title), and their successors in office, personally responsible for
compliance ... .

5. U.S.C. § 702 (emphasis added). In an action under the APA, “The reviewing court shall--
(1) compel agency action unlawfully withheld or unreasonably delayed ... .” 5 U.S.C. § 706.
44. As stated supra, the United States Attorney has refused to provide to the Lawyers’

Committee any details regarding the status of the United States Attorney’s action on Plaintiffs’

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Petition and Amended Petition, including whether or not the United States Attorney has actually
provided a special grand jury with these documents and their exhibits, or not. As a result, the
United States Attorney may have, and Plaintiffs have concluded, on information and belief, that
the United States Attorney here has, unlawfully withheld, in violation of his clear duty pursuant
to 18 U.S.C. § 3332(a), the action requested by Plaintiffs, pursuant to their statutory (and
constitutional) right, that the United States Attorney provide to a special grand jury the
information in Plaintiffs’ Amended Petition and Exhibits regarding alleged federal crimes that
have been committed in the Southern District of New York. Should the disclosure of grand jury
records as sought in this Complaint, or a disclosure of information pursuant to order of the court,
demonstrate to the contrary, then the Plaintiffs’ mandamus claim stated in this count will be
moot (ie this count is brought as a contingent claim or claim for alternative relief which will
only be pursued by Plaintiffs if there is no disclosure showing that the United States Attorney has
in fact provided Plaintiffs’ Amended Petition and exhibits to a special grand jury).

45. Consequently, Plaintiffs are entitled to an order from this Court mandating the

United States Attorney to provide Plaintiffs’ Amended Petition and Exhibits to a special grand
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jury and inform the special grand jury of the Plaintiffs’ identity.

COUNT III: DISCLOSURE OF GRAND JURY RECORDS PURSUANT TO COMMON
LAW RIGHTS, THE COURT’S INHERENT AUTHORITY, THE FIRST
AMENDMENT, AND FED. R. CRIM. P. 6

46. All of the foregoing paragraphs are incorporated herein by reference.
47. The records of and regarding any federal special grand jury to which the U.S.

Attorney has submitted any information or documents related to Plaintiffs’ aforementioned

Petition and Amended Petition which Plaintiffs submitted to the U.S. Attorney are records of the

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court.
48. | Even when grand-jury materials are in the custody of government attorneys, they

remain the records of the courts, and courts have the authority to decide whether such records

 

should be made public.

49, Plaintiffs have a common law right and a First Amendment right to petition the
court for access to these grand jury related records, in addition to the right to request disclosure
of grand jury records pursuant to Fed. R. Crim. P. 6(e).

50. The public has a general right to inspect and copy public records and documents,
including judicial records and documents, a right that exists pursuant to federal common law and
pursuant to the First Amendment of the United States Constitution.

51. Grand-jury records, including transcripts of grand jury proceedings, are public
records to which the public, including the Plaintiffs, may seek access.

52. The district court has common-law supervisory authority over the grand jury.

53. The district court’s limited inherent power to supervise a grand jury includes the
power to unseal grand-jury materials when appropriate.

54. The district court has continuing common-law authority over matters pertaining to
a grand jury, including any application to unseal grand-jury materials, in addition to authority to
rule on disclosure of grand jury records pursuant to Federal Rule of Criminal Procedure 6(e).

55. Ministerial records related to a grand jury are not subject to any grand jury
secrecy restrictions imposed by Rule 6(e).

56. The district court has the inherent power to release even non-ministerial records

of a grand-jury in situations not contemplated by Rule 6(e).

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57. The Plaintiffs here request the District Court to release to Plaintiffs all substantive
and ministerial records of any federal grand jury with which the U.S. Attorney has
commuhicated regarding Plaintiffs’ aforementioned Petition and/or Amended Petition and/or the
evidence submitted by Plaintiffs to the U.S. Attorney in conjunction with their Petition and
Amended Petition. The Plaintiffs do not request disclosure of any grand jury records that the
Court determines might endanger any witness or member of the grand jury.

58. In the alternative, the Plaintiffs here request the District Court to release to
Plaintiffs all ministerial records, and such subset of the substantive records as the Court
determines would be appropriate in the reasonable exercise of its discretion, of or regarding any
federal grand jury with which the U.S. Attorney has communicated regarding Plaintiffs’
aforementioned Petition and/or Amended Petition and/or the evidence submitted by Plaintiffs to
the US. Attorney in conjunction with their Petition and Amended Petition.

59. The ministerial records related to the relevant grand jury or grand juries that
Plaintiffs herein request include:

a) Any Order authorizing summons of any Special Grand Jury or Grand Jury in the
Southern District of New York that has or will receive Plaintiffs’ Petition, Amended Petition,
exhibits thereto, or information regarding same;

b) Any Order authorizing extension of any such Special Grand Jury or Grand Jury
referenced immediately above;

c) Roll sheets reflecting composition of any such Special Grand Jury or Grand Jury
referenced immediately above, attendance records of the Jurors, and any substitutions;

d) Any written authority permitting a Special Prosecutor to present evidence to any such

Special Grand Jury or Grand Jury referenced immediately above;

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¢) Records setting forth the method by which any such Special Grand Jury or Grand Jury

referenced immediately above was empaneled;

f) Voting records, related to any decision to extend the life of any such Special Grand
Jury or Grand Jury referenced immediately above;

g) All records of disclosure of names of persons receiving information about matters
occurring before any such Special Grand Jury or Grand Jury referenced immediately above; as
defined in Federal Rule of Criminal Procedure 6(e)(3)(A)(ii).

h) All other ministerial records related to the relevant grand jury or grand juries which
have received any information from the United States Attorney regarding Plaintiffs’ Petition or
Amended Petition (or that were in session at the time Plaintiffs submitted their original Petition
to the United States Attorney or that have been convened thereafter).

60. There are special circumstances that warrant the disclosure of the grand jury
records requested herein by Plaintiffs, which special circumstances include:

4) There remains no significant government interest in continued secrecy regarding
whether the U.S. Attorney has submitted to a federal grand jury all or some portion of Plaintiffs’
Petition and Amended Petition and/or the evidentiary exhibits thereto given that the Plaintiffs’
Petition and Amended Petition and the exhibits thereto are not only already known by Plaintiffs
these documents and the fact of their submission to the U.S. Attorney, and the U.S. Attorney’s
agreement to comply with 18 U.S.C. § 3332(a) in regard to these submissions by Plaintiffs, have
been publicly disclosed via one or more press releases, one or more media articles, and on-going
availability to the public via the Lawyers’ Committee’s website.

b) Eighteen years have passed since the occurrence of the federal crimes related to 9/11

addressed in the Plaintiffs’ Petition and Amended Petition.

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c) The matters addressed in Plaintiffs’ Petition and Amended Petition submitted to the
U.S. Attorney for submission to a federal special grand jury are of unusual public importance.

d) It would promote public understanding of and confidence in the executive branch, the
Department of Justice, the U.S. Attorney’s Office, and the judiciary, to learn that the evidence
submitted to the U.S. Attorney by Plaintiffs regarding the 9/11 related federal crimes alleged in
the Plaintiffs’ Petition and Amended Petition has finally been presented to a federal grand jury
and is being diligently investigated, particularly in light of the U.S. Attorney’s written assurance
to the Lawyers’ Committee that the U.S. Attorney would comply with the statutory requirements
of 18 U.S.C. § 3332(a) in regard to Plaintiffs’ Petition and Amended Petition.

¢) Given the eighteen years that have passed since the crimes at issue, secrecy is not
required to prevent the escape of those whose indictment may be contemplated.

f) There is no apparent reason why disclosure now of the fact that Plaintiffs’ Petition,
Amended Petition, and exhibits thereto have been presented to a grand jury would interfere with
the freedom of the grand jury regarding its deliberations.

g) There is no apparent reason why disclosure now of the fact that Plaintiffs’ Petition,
Amended Petition, and exhibits thereto have been presented to a grand jury would facilitate
persons subject to indictment or their friends from importuning the grand jurors.

h) There is no apparent reason why disclosure now of the fact that Plaintiffs’ Petition,
Amended Petition, and exhibits thereto have been presented to a grand jury would facilitate
subornation of perjury or tampering with the witnesses who may testify before the grand jury and
later appear at the trial of those indicted by it.

i) There is no apparent reason why disclosure now of the fact that Plaintiffs’ Petition,
Amended Petition, and exhibits thereto have been presented to a grand jury would discourage

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free and untrammeled disclosures by persons who have information with respect to the
commission of crimes.

j) There is no apparent reason why disclosure now of the fact that Plaintiffs’ Petition,

 

Amended Petition, and exhibits thereto have been presented to a grand jury would result in a
failure to protect an innocent accused who is exonerated from disclosure of the fact that he or she

has been’ under investigation.

PRAYER FOR RELIEF

61. WHEREFORE, Plaintiffs respectfully request this Court to:

a) Disclose, or Order the U.S. Attorney or Clerk of Court to disclose, to Plaintiffs all
ministerial records, and such subset of the substantive records as the Court determines would be
appropriate in the reasonable exercise of its discretion, of or regarding any federal grand jury
with which the U.S. Attorney has communicated regarding Plaintiffs’ aforementioned Petition
and/or Amended Petition and/or the evidence submitted by Plaintiffs to the U.S. Attorney in
conj unction with their Petition and Amended Petition, including any transcripts of testimony by
witnesses or presentation of evidence by the United States Attorney and any documents
presented to the grand jury that were provided to the United States Attorney by Plaintiffs as or
with their Petition or Amended Petition;

b) In the event no disclosure is made or such disclosure as is made does not demonstrate
that the United States Attorney has provided Plaintiffs’ Amended Petition and exhibits and
supplements to a special grand jury, Order the Defendants to:

1) Inform a federal special grand jury of the alleged federal offenses identified and

described in Plaintiffs’ Amended Petition and provide to such special grand jury Plaintiffs’

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Amended Petition and all supplements thereto including all the exhibits referenced therein
(which were provided to the United States Attorney by Plaintiffs);

2) Inform such federal special grand jury of the identity of the Plaintiffs and the other
Petition signers, and their contact information; and

3) Inform such federal special grand jury of the government attorney’s action or

recommendation on Plaintiffs’ Amended Petition.

 

) Order the Defendants to keep the Plaintiffs reasonably and timely informed as to when,

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to what extent, and in what manner the Defendants have submitted the Plaintiffs’ Petition,
evidence, and names and contact information to a special grand jury so that Plaintiffs will be able

to determine whether Defendants have complied with their mandatory duty under 18 U.S.C. §
3332(a).

d) In the alternative, provide Plaintiffs’ Amended Petition and exhibits directly to a
federal special grand jury, in lieu of ordering the United States Attorney to do so.

e) Award Plaintiffs their reasonable attorney fees incurred in prosecuting this action
pursuant to 28 U.S.C. § 2412 and/or other applicable law; and

f) Grant such other and further relief as the Court may deem just and proper.

Respectfully submitted,

Yn Lo

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Dated: September 6, 2019

 

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